                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                      MDL DOCKET NO. 5:20-md-2947-KDB-DSC

IN RE: LOWE’S COMPANIES, INC. FAIR
LABOR STANDARDS ACT (FLSA) AND
WAGE AND HOUR LITIGATION



THE DOCUMENT APPLIES TO ALL
MEMBER CASES

                   [PROPOSED] ORDER GRANTING AMIR ALIMEHRI
                     TO WITHDRAW AS COUNSEL FOR PLAINTIFFS

         Pursuant to Local Rule 83.1(f), Attorney Seth R. Lesser hereby seeks to withdraw

 Attorney Amir Alimehri as counsel for Plaintiffs. All other counsel of record for Plaintiffs

 continue to serve as counsel for Plaintiffs. Mr. Alimehri’s withdrawal from the case will not

 cause any substantial burden upon the Plaintiffs.

         IT IS HEREBY ORDERED that Amir Alimehri is withdrawn as counsel for Plaintiffs

 in this matter.

Date: March ___, 2022
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                                                     Hon. David S. Cayer
                                                     U.S. Magistrate Judge




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